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                       UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                                   ORLANDO DIVISION

NUVASIVE, INC.,

                      Plaintiff,

v.                                                        Case No: 6:17-cv-2206-Orl-41GJK

ABSOLUTE MEDICAL, LLC; GREG
SOUFLERIS; DAVE HAWLEY;
ABSOLUTE MEDICAL SYSTEMS,
LLC; and RYAN MILLER,

                      Defendants.



                                           ORDER
       This cause came on for consideration without oral argument on the following motion:

       MOTION:        DEFENDANTS’ MOTION TO QUASH PLAINTIFF’S
                      SUBPOENAS TO PRODUCE DOCUMENTS TO OSSEUS
                      FUSION SYSTEMS, LLC, K2M, INC., NOVABONE
                      PRODUCTS, LLC, ORTHOFIX, INC., AND LIFE SPINE,
                      INC. (Doc. No. 92)

       FILED:         July 23, 2018



       THEREON it is ORDERED that the motion is DENIED IN PART. The
       motion is denied as to the subpoenas directed to K2M, Inc., Orthofix, Inc., and
       Life Spine, Inc., without prejudice to being filed in the proper district.
       Enforcement of the subpoenas directed to Osseus Fusion Systems, LLC, and
       NovaBone Products, LLC, is STAYED pending resolution of the issues in the
       Motion regarding the subpoenas directed to those entities.

       On July 23, 2018, “Defendants’ Motion to Quash Plaintiff’s Subpoenas to Produce

Documents to Osseus Fusion Systems, LLC, K2M, Inc., NovaBone Products, LLC, Orthofix, Inc.,

and Life Spine, Inc.” (the “Motion”) was filed. Doc. No. 92. Plaintiff NuVasive, Inc., served
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subpoenas on Osseus Fusion Systems, LLC; K2M, Inc.; NovaBone Products, LLC; Orthofix, Inc.;

and Life Spine, Inc. (the “Non-Parties”), requesting production of documents on August 6, 2018.

Id. at 11, 23, 35, 47, 59. The subpoenas directed to K2M, Inc., Orthofix, Inc., and Life Spine, Inc.,

require production in Nashville, Tennessee. Id. at 23, 47, 59.

       Defendants move to quash the subpoenas under Federal Rule of Civil Procedure 45(d). Id.

at 1. “Under the 2013 amendments to Federal Rule of Civil Procedure 45, the district court with

jurisdiction to enforce and to quash subpoenas is ‘the court for the district where compliance is

required,’ which may or may not be the court that issued the subpoena.” Narcoossee Acquisitions,

LLC, v. Kohl’s Dep’t Stores, Inc., No. 6:14-cv-203-Orl-41TBS, 2014 WL 4279073, at *1 (M.D.

Fla. Aug. 28, 2014) (quoting Fed. R. Civ. P. 45(d)(1), (d)(3), (g)). Here, all the subpoenas were

issued by this Court, but the subpoenas directed to K2M, Inc., Orthofix, Inc., and Life Spine, Inc.,

request that the documents be produced in Tennessee, which is outside the jurisdictional

boundaries of this Court. The Motion fails to provide any authority for the proposition that this

Court is the proper venue to raise the relief requested regarding these subpoenas. Doc. No. 92.

Therefore, the Motion is denied as to the subpoenas directed to K2M, Inc., Orthofix, Inc., and Life

Spine, Inc., without prejudice to being filed in the proper district.

       The subpoenas directed to Osseus Fusion Systems, LLC, and NovaBone Products, LLC,

request compliance in Tampa, Florida, id. at 11, 35, which is within the jurisdiction of the Middle

District of Florida. The Court will consider Defendants’ arguments for quashing those subpoenas




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once NuVasive has been given an opportunity to respond to the Motion.

       Accordingly, it is ORDERED as follows:

       1. The Motion (Doc. No. 92) is DENIED as to the subpoenas directed to K2M, Inc.,

           Orthofix, Inc., and Life Spine, Inc., without prejudice to being filed in the proper

           district;

       2. NuVasive is directed to file a response to the Motion on or before August 6, 2018; and

       3. Enforcement of the subpoenas directed to Osseus Fusion Systems, LLC, and NovaBone

           Products, LLC, is STAYED pending resolution of the issues in the Motion regarding

           the subpoenas directed to those entities.

       DONE and ORDERED in Orlando, Florida, on August 2, 2018.




Copies furnished to:

Counsel of Record
Unrepresented Parties




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